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 4
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 5   SHAY DIN ALTIT
 6

 7
                           UNITED STATES DISTRICT COURT
 8
                          EASTERN DISTRICT OF CALIFORNIA
 9

10
                                              ) Case No. 2:12-CR-0389 GEB
11   THE UNITED STATES OF                     )
                                              ) ORDER EXONERATING BOND
12   AMERICA,                                 ) AND AUTHORIZING RETURN
                                              ) PASSPORT
13                Plaintiff,                  )
                                              )
14         vs.                                )
                                              )
15   SHAY DIN ALTIT,                          )
                                              )
16                Defendant.                  )
17

18                IT IS HEREBY ORDERED that the $50,000.00 bond submitted in
19   this case is exonerated. Further, the Clerk of Court shall return Defendant Shay Din
20   Altit’s passport to him by delivery of it to his counsel of record, the Law Offices of
21   Mark J. Werksman.
22         Dated: December 3, 2013
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